Case: 4:23-cv-01285-JSD Doc. #: 1-5 Filed: 10/11/23 Page: 1 of 6 PagelD #: 24

= a a

Date: 03/31/2023

Brennen Hurt
1830 Charleston estates dr

Florissant MO 63031

Attention:

ATTN: CFO Jason Kulas (chief financial officer)

Exeter

Irving, TX, 75016

Notice of Default

Dear CFO /s/ Jason Kulas on March 4" you and your corporation (Exeter) received an Endorsed bills of
exchange and tender with instructions to apply the Principals Balance to the account #3758571 for set
off. You had 5 days to respond in which you did not. Again on March 18*" | sent an Opportunity to cure
for you not responding in the first 5 days. In which you were sent Instructions (tender) and a copy of the
endorsed bill to set off the account. Again CFO Jason Kulas ignored for another 5 days rights | have
chosen to enforce. | sent CFO Jason Kulas A copy of the federal reserve section 16 stating Bills of
exchange is legal to use. Jason Kulas has defaulted in his Obligations and duty to make sure my account
was taken care of. According to the Federal reserve act, This is Breach of Contract. Jason Kulas has
breached his fiduciary duties. All I’m asking is for Jason to Apply the principals balance to the account for
set off. Jas/on Kulas and Exeter is injuring me by ignoring my instructions to set off.

On march 08,2021 Exeter received a security collateral ( The collateral security thus offered shall be
notes, drafts, bills of exchange, or acceptances acquired under section 10A, 10B, 13, or 13A of
this Act, or bills of exchange endorsed) from BRENNEN HURT, on March 4" Jason Kulas CFO for
Exeter received instructions to apply collateral to set off account, also received a bills of exchange
endorsed. He also received a Power of attorney. March 18" Jason received a notice to cure.

1. Be advised | am now using my constitutional rights to file a claim/ suite. | have a right to credit
and to deny me my credit is unconstitutional. According to the federal reserve | can choose
between tiers 1,2 or, 3 for my civil penalties. Since Jason Kulas has ignored me, the first 5 days
that’s Tier 1. and | sent him a notice to cure, which is tier 2/ or a Breach ( part of a pattern of
misconduct). and Tier 3 states “any member bank knowingly or recklessly causes a
substantial loss by reason of such violation, practice, or breach,”

Case: 4:23-cv-01285-JSD Doc. #: 1-5 Filed: 10/11/23 Page: 2 of 6 PagelD #: 25

Brennen Hurt Date:04/14/2023

1830 Charleston estates dr.

Florissant, MO, 63031

EXETER FINANCE
P.O Box 166008

Irving, TX, 75016

TO THE CARE OF EXETER FINANCE BOARD OF DIRECTORS

Notice of Default

To Whom it may concern | Brennen Hurt sent Exeter Finance CFO Jason Kulas a
letter on 03/04/2023 with instructions (tender) to the bill sent with it. The Tender
simply stated for Jason Kulas to apply the Principals balance to the Principals
account for set off. The account number being #3758571. Your institution was
given a security collateral on 03/18/2021 for a vehicle that was repossessed
awhile back. Now I’m simply trying to utilize the principals balance. I’m well within
my rights to ask Jason kulas to perform his duties which he has neglected.

| Hurt; Brennen- Michael is here on behalf of the Principal BRENNEN HURT. You
have already received the Power of attorney giving me rights and authority. |
would like to transfer all rights, titles and interest to CFO so he can apply the
principals balance. Or whatever it is he needs to do so he can set off the account.
Now I’m just here to instruct, not tell Exeter how to do business.

According to the federal reserve /s/Jason Kulas is now in Breach of fiduciary
duties. Breach of contract according to Federal Reserve Section 29 tier 3and part
d.

Knowing and willingly causing me harm or personal injury.

| Brennen hurt the agent to the Principal has performed my side of the
contract. It is now Jason who is making the account due and not performing

Case: 4:23-cv-01285-JSD Doc. #: 1-5 Filed: 10/11/23 Page: 3 of 6 PagelD #: 26

| have sent notices and you have ignored them all, it seems that you're knowingly and willing denying
me my constitutional right to credit. From the date of the first notice till | get my remedy Exeter or

Jason Kulas has to pay $1,000,000 in penalty to me, or (1 percent of the total assets of such member
bank) untill get my remedy.

Jason Kulas CFO of Exeter has 5 days to now 0 out the account, and update my credit report showing a 0
balance with no late or missed payments. Jason kulas has 5 days to send me back in writing showing me
the account is now paid in full and being fixed on my report. Unless Jason Kulas rather pay me

$1,000,000 dollars a day. If | don’t hear anything in S days its assumed that Jason Kulas will be applying
the instructions.

| will be contacting OCC & SEC to help with this matter since this is covered in the Federal Reserve Act.

Hurt;Brennen-Michael/ Agent to BRENNEN HURT

(without recourse)
Case: 4:23-cv-01285-JSD Doc. #: 1-5 Filed: 10/11/23 Page: 4 of 6 PagelD #: 27

Certified Mail Fee 3 hs

QO) Ratu Roc

(J Return Rec:

alpt (

CJ Aduit Signature Restricted Dolivery $

fi.00 |

Extra Services & Fons (chock box, add loo op gpprpppato)
) (chock box, RPP
a ee

0,00 Posimark
bL00 Hero

Postage 495
° $2.22
S

Total Postage and es 37
Ged
$

14/27/2023

Sent To

7022 1670 OO03 1Lb1?

|Streai and Apt: No.; or BO Box No. ~~

LAS so) gure si8le yy el al iydih poy ich Wisc there

wn Go a we we enw wee m meen ew wen cen an ewan nen enn enn nese enn n ean n ns amwn amma d

Case: 4:23-cv-01285-JSD Doc. #: 1-5 Filed: 10/11/23 Page: 5 of 6 PagelD #: 28

v,
XK E xete r Date of Notice:

12/26/2023
Contract (“Agreement”) Date: 3/8/2021
FOR RETURN MAIL ONLY
PO Box 166008 // Irving, TX 75016 , “Vehicle” Year/Make/Model: 2016 HONDA ODYSSEY
BS Vehicle Identification Number: SFNRLSH33GBO81145
Contract Number: 3758571
UEEegLefentbeen hy yefeag tp yAgg Lege fof eg det Let [ty
0000267-0000287 LIST™ O01 ---——-- 804564
DANIELLE HURT UES yee
BRENNEN HURT () 844-621-9105 © sours (Central Standard Time)
1830 CHARLESTON ESTATES DR i day-Frida
FLORISSANT, MO 63031 )www.exeterfinance.com | 8AM-5PM Monday-Friday

Settlement Offer

Dear DANIELLE HURT,BRENNEN HURT,

Exeter Finance LLC (“Exeter”) recognizes that there was a recent hardship that kept you from meeting your obligations.
We would like to work with you to come to a mutual agreement to settle your account.

Exeter is offering you the option to pay 35% of the remaining account balance. This offer is good through
3/31/2023. Please contact our offices at 844-621-9105.

When speaking to a representative, please refer to this offer letter by using the offer: EXELLC35.
We look forward to hearing from you soon.

Sincerely,

Exeter Finance LLC

This communication is an attempt by Exeter Finance LLC to collect a debt, and any information received in response to this communication
will be used for that purpose.

We may report information about your Account to credit bureaus. Late payments, missed payments, or other defaults on your Account may
be reflected in your credit report.

NOTICE: If you are entitled to the protections of the United States Bankruptcy Code (11 U.S.C. §§ 362; 524) regarding the subject matter of this
letter, the following applies to you: THIS COMMUNICATION IS NOT AN ATTEMPT TO COLLECT, ASSESS, OR RECOVER A CLAIM IN VIOLATION
OF THE BANKRUPTCY CODE AND IS FOR INFORMATIONAL PURPOSES ONLY

ea

Revision Date: 1.7.2021 EXELLC35

Case: 4:23-cv-01285-JSD Doc. #: 1-5 Filed: 10/11/23 Page: 6 of 6 PagelD #: 29

x Exeter’

PO Box 166008 // Irving, TX 75016

Statement of Account

Vay to We Dever

OWE een Wosand Yren hundeed Sieby- Sve

DANIELLE HURT , BRENNEN HURT
1830 CHARLESTON ESTATES DR
FLORISSANT, MO, 63031

gies)
PETS
04/08/21
04/22/21
05/20/21
06/23/21
06/30/21
07/14/21
07/28/21

Payment Applied
Payment Applied
Payment Applied
Payment Applied
Payment Applied
Payment Applied
Payment Applied
08/19/21
09/02/21
09/16/21
10/07/21
10/18/21
11/06/21

Payment Applied
Payment Applied
Payment Applied
Payment Applied
Payment Applied
Late Fee Assessed
11/12/21
12/07/21

Payment Applied

Late Fee Assessed
12/16/21
01/06/22
02/06/22
03/01/22
03/09/22
04/06/22

Payment Applied

Late Fee Assessed
Late Fee Assessed
Payment Applied

Late Fee Assessed
Late Fee Assessed
05/07/22 Late Fee Assessed
07/08/22 Product Cancellation Credit Applied

07/08/22 Product Cancellation Credit Applied

ere
PUL
eit |

$254.00
$254.00
$507.37
$300.00
$206.74
$254.00
$260.00
$254.00
$247.00
$254.00
$253.11
$254.00

$254.00

$507.37

$507.37

$476.40
$1,718.76

PETS

Us

$254.00
$254.00
$337.82
$300.00
$171.20
$160.63
$159.89
$238.68
$170.36
$158.41
$225.23
$123.71

$254.00

$405.26
$507.37

betel ey
Bitte

$169.55
$35.54
$93.37
$100.1]
$15.32
$76.64
$95.59
$27.88
$130.29

$102.11

$476.40
$1,718.76

Account Number:
Beginning Principal Balance:
Outstanding Principal:
Outstanding Interest:
Outstanding Fees:

Total Outstanding Balance:

TT e yg
Ui titg

ny item
PNT

POvhiT sy
Uta

($12.66) =
($25.00)
($25.00) 3
($25.00) :
($25.00) i
($25.00) “
($25.00) “

a
100

COLTS g
eile
PAU e

4 \4 ) 4s, 33

3
ff

3758571
$20,895.00
$17,853.44
$1,349.23
$162.66
$19,365.33

ba titetiyy |
EET tw
wAVi Ts

- $20,895.00
- $20,895.00
- $20,725.45
- $20,725.45
- $20,689.91

- $20,596.54
- $20,496.43
- $20,481.11

- $20,404.47
- $20,308.88
- $20,281.00
- $20,150.71

$20,150.71

- $20,150.71

$20,150.71

- ad

$20,048.6
$20,048.60

- $20,048.60

$20,048.60
$20,048.60
$20,048.60

- $17,853.44
- $17,853.44

NOTICE: If you are entitled to the protections of the United States Bankruptcy Code (11 U.S.C. §§ 362; 524) regarding the subject matter of
this letter, the following applies to you: THIS COMMUNICATION IS NOT AN ATTEMPT TO COLLECT, ASSESS, OR
RECOVER A CLAIM IN VIOLATION OF THE BANKRUPTCY CODE AND IS FOR INFORMATIONAL PURPOSES ONLY.

